                                  Case: 6:04-cv-00015-KKC Doc #: 23 Filed: 06/15/04 Page: 1 of 2 - Page ID#: 318




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                                                  UNITED STATES DISTRICT COURT
                                            EASTERN DISTRICT OF KENTUCKY- LONDON DIV.
                                                       CASE NO.: 6:04-CV-15 KKC

                                     MICHAEL H. WEISSER                       lhsternMdof-                 PLAINTIFF
                                                                                   FILED
                                     V.
                                                                                     JUN 15 2004
                                     CP HAZARD ASSOCIATES LIMITED         AT LONDON
                                     PARTNERSHIP and WALMART REAL L ~ G,      sWH~TMER
                                                                                 l ~
                                     ESTATE BUSINESS TRUST       C L 3 K C.S.DISTRICT COUmFENDANTS


                                                PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT


                                            The Plaintiff, Michael H. Weisser, respectfully moves this court for

                                     summary judgment in his favor in this action. A memorandum of law in support of

                                     this motion is attached. Also, a proposed order accompanies this motion.

                                                                        Respectfully submitted,

                                                                        Farmer, Kelley, Brown, Williams & B r e e h g
                                                                        502 West Fifth Street
                                                                        P.O. Drawer 490
                                                                        London, Kentucky 40743-0490
                                                                        Telephone: (606) 878-7640


                                                                 BY


                                                                              HAROLD F. DYCHE, I1
                                                                        Counsel for Plaintiff, Michael H. Weisser


                                                              CERTIFICATE OF SERVICE

                                            I hereby certify that the original of the foregoing was tendered for filing by
                                     mailing same, f i s t class postage prepaid to the following:
   FARMER,
IELLEY, BROWN,
LLIAMSLGBREEDIN~
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                               US. District Court Clerk
                               310 S. Main Street, Room 215                        V i a Hand-Delivery
      J                        London, KY 40741

                                      I hereby certify that true and correct copies of the foregoing was served by
                               mailing same, first class postage prepaid to the following

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                              W. Craig Robertson, I11
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                              250 W. Main Street, Ste. 1600
                              Lexington, KY 40507-1746

                                        This the @day           of June 2004.




                              BLB/mc: 061404 Manorandm in Support of Motion for Summary Judgment (Weisser Y. CP Ilazard Assoc. & Wd-Mart)




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CELLEY, BROWN,
LLwwIS&BREEDIN(
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